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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                               4:11CR3110
      vs.
                                                                 ORDER
KENNETH A. JONES,
                    Defendant.


      The defendant has failed to meet the burden of showing, by clear and convincing
evidence pursuant to 18 U.S.C. § 3143 (a) and Fed. R. Crim. P. Rule 32.1(a)(6) that
defendant will not pose a danger to the safety of any person or the community if released.
The Court’s findings are based on the evidence presented in court and contained in the
court's records, including Petition for Offender Under Supervision (filing 151) and the
Lincoln Police Department Report.
      IT IS ORDERED:


      1)     The above-named defendant shall be detained until further order.


      2)     The defendant is committed to the custody of the Attorney General for
             confinement in a corrections facility; the defendant shall be afforded
             reasonable opportunity for private consultation with counsel; and on order
             of a court of the United States, or on request of an attorney for the
             government, the person in charge of the facility shall deliver the defendant
             to a United States Marshal for appearance in connection with a court
             proceeding.


      August 29, 2016.                          BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
